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                                #:14906


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                                    UNITED STATES DISTRICT COURT
13
                                   CENTRAL DISTRICT OF CALIFORNIA
14
15   KITSCH LLC, a California limited               Case No. 2:19-cv-02556-JAK-RAO
     liability corporation,                         Hon. John Kronstadt presiding
16
                   Plaintiff / Counter-Defendant,   DECLARATION OF JACQUELYN DE
17           v.                                     JESU IN SUPPORT OF DEFENDANT
18   DEEJAYZOO, LLC, a New York                     AND COUNTER-CLAIMANT
     limited liability corporation,                 DEEJAYZOO LLC’S OPPOSITION TO
19                                                  PLAINTIFFS’ MOTION FOR
                   Defendant / Counter-Claimant.
                                                    ATTORNEYS’ FEES AND NON-
20                                                  TAXABLE COSTS
21
                                                    Date:     November 13, 2023
22                                                  Time:     8:30 a.m.
                                                    Place:    Courtroom 10B
23
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28
      DECLARATION OF JACQUELYN DE JESU ISO DEEJAYZOO LLC’S OPPOSITION TO PLAINTIFFS’
                   MOTION FOR ATTORNEYS’ FEES AND NON-TAXABLE COSTS
     150239798.1
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 1                      DECLARATION OF JACQUELYN DE JESU
 2           I, Jacquelyn De Jesu, declare as follows:
 3           1.    I am a party to this action and the majority owner of Defendant and
 4   Counter Claimant, DeeJayZoo, LLC (“DeeJayZoo”).
 5           2.    I have personal knowledge of the facts and matters herein, and, if called
 6   upon to testify in this matter, I could and would competently do so, except as to the
 7   matters stated herein on information and belief and, as to such matters, I believe them
 8   to be true.
 9           3.    On or about June 8, 2023, I was inside the hallway of the District
10   Courthouse in Los Angeles, California for the trial in this matter.
11           4.    While I was waiting to talk to my lawyers, I felt a pair of hands hover
12   close to my shoulders and around my upper body. At the time, I believed the effect of
13   this conduct was to make me feel as if they intended to hug me. Accordingly, I
14   believed it was my husband, who was present with me at the trial for support.
15           5.    However, when I turned to look whose hands had been hovering so close
16   to my upper body, I was startled by a shocking “boo” being yelled in my face. This
17   person was Jeremy Thurswell, the husband of Cassandra Thurswell.
18           6.    I became upset when I realized who it was and felt like my privacy had
19   been violated. This significantly and negatively affected my sense of stability, made
20   me extremely uncomfortable, and brought me to tears.
21           7.    I was shocked to read in Kitsch’s Motion for Attorneys’ Fees and Non-
22   Taxable Costs that my alleged inconsistent testimony at trial is the basis upon which
23   it argues that I engaged in bad faith litigation. If any of my testimony is subject to
24   criticism, it is due to the inappropriate actions of Mr. Thurswell towards me.
25   Therefore, my testimony was not provided with any bad faith or malicious motive,
26   but was made under the duress I felt I suffered as a result of the aforementioned
27
28
      DECLARATION OF JACQUELYN DE JESU ISO DEEJAYZOO LLC’S OPPOSITION TO PLAINTIFFS’
                   MOTION FOR ATTORNEYS’ FEES AND NON-TAXABLE COSTS
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 1   encounter with Mr. Thurswell. I do not believe I erred in my testimony in spite of the
 2   trauma of the event.
 3           8.    If my testimony is the basis upon which Kitsch contends makes this case
 4   “exceptional,” then the events leading up to such testimony are equally as exceptional,
 5   if not worse, due to how inappropriate and disrespectful Mr. Thurswell acted towards
 6   me on June 8, 2023 before I testified.
 7           I declare under penalty of perjury that the foregoing is true and correct.
 8   Executed this 6th day of October 2023, at Kings County, New York.
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10                                                 _________________________
11                                                        JACQUELYN DE JESU
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      DECLARATION OF JACQUELYN DE JESU ISO DEEJAYZOO LLC’S OPPOSITION TO PLAINTIFFS’
                   MOTION FOR ATTORNEYS’ FEES AND NON-TAXABLE COSTS
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